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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION

                                                      §
    MY HEALTH, INC.,                                  §
                                                      § Case No. 2:16-cv-00535-RWS-RSP
                   Plaintiff,                         §
                                                      §
    v.                                                §
                                                      §
    ALR TECHNOLOGIES, INC., et al.,                   §
                                                      §
                   Defendants.                        §


                          ORDER ADOPTING MAGISTRATE JUDGE’S
                           MEMORANDUM OPINION AND ORDER

          In this patent case, Plaintiff has filed two pleadings seeking relief from the Magistrate

   Judge’s order to pay Defendants’ attorneys’ fees under 35 U.S.C. § 285. First, Plaintiff has

   submitted objections to the Magistrate Judge’s fees order (Docket No. 167). Second, Plaintiff has

   moved for relief from the fees order under Federal Rule of Civil Procedure 60(b) (Docket No.

   168). Plaintiff’s Rule 60(b) motion requests that this Court maintain the exceptionality finding but

   deny any award of fees under 35 U.S.C. § 285. Id. at 7. Plaintiff argues that the denial of the fees

   award will moot Defendants’ now-withdrawn contempt motion (Docket No. 137) and its

   objections to the Magistrate Judge’s exceptionality finding and fees award. For the reasons

   explained below, the Court ADOPTS the Magistrate Judge’s order awarding § 285 fees to

   Defendants (Docket No. 131), OVERRULES Plaintiff’s objections (Docket No. 167) and

   DENIES Plaintiff’s Rule 60(b) request for relief (Docket No. 168).
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                                             BACKGROUND

           In May of 2016, Plaintiff filed several patent infringement lawsuits in this district,

   including the instant matter. This case was referred to the Magistrate Judge Roy S. Payne for all

   pre-trial matters pursuant to 28 U.S.C § 636. In March of 2017, the Court found U.S. Patent No.

   6,612,985 (“the ʼ985 patent” or “the Asserted Patent”), invalid for failure to claim patent-eligible

   subject matter under 35 U.S.C. § 101. Docket Nos. 66, 78. After the Defendants’ motions to

   dismiss were granted and final judgment was entered by this Court, Defendants moved for

   attorneys’ fees under § 285. Plaintiff appealed from the Court’s ruling on invalidity (Docket No.

   85) and requested that Defendants’ motion for fees be stayed pending appeal (Docket No. 89). In

   requesting the stay, Plaintiff argued that there “is no allegation or basis to allege that My Health

   will be unable to pay an award of reasonable attorneys’ fees following a ruling from the Federal

   Circuit should My Health lose the appeal.” Docket No. 89 at 7. The Magistrate Judge denied

   Plaintiff’s request to stay the motion for fees pending appeal. Docket No. 98.

           The Magistrate Judge ultimately found this case to be exceptional, noting the weakness of

   Plaintiff’s patent-eligibility position, the number of lawsuits settled on the cusp of a merits

   determination, the similarities in the settlement amounts representing nuisance value, Plaintiff’s

   improper communication with represented defendants, Plaintiff’s dismissal of the appeal with the

   Federal Circuit to seemingly avoid the Federal Circuit’s review of this Court’s invalidity decision,

   and Plaintiff’s misrepresentation that the parties met and conferred regarding the dismissal of the

   appeal. Docket No. 131. Accordingly, the Magistrate Judge ordered Plaintiff to pay fees within

   60 days of the order. Id. at 13. Plaintiff filed a notice of appeal to the Federal Circuit of this order

   one month later (Docket No. 134), without first having objected to and seeking review of the

   Magistrate Judge’s order by this Court. Plaintiff failed to pay within the allotted time and



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   Defendants subsequently moved for an order requiring Plaintiff to show cause why it should not

   be held in contempt for failure to comply with the order on fees (Docket No. 137).

          On April 19, 2018, the Federal Circuit ordered Plaintiff to show cause why its appeal of

   the fees award should not be dismissed, as it appeared to the Federal Circuit that Plaintiff had not

   filed any objection to the Magistrate Judge’s decision under Federal Rule of Civil Procedure 72(b).

   Docket No. 158 at 3. On June 13, 2018, the Federal Circuit dismissed the appeal for lack of

   jurisdiction. Docket No. 162. The Federal Circuit cited 28 U.S.C. § 1295(a)(1), which provides

   that the Federal Circuit has jurisdiction over an appeal from a final decision of a district court in a

   case that arises under the patent laws. Id. at 2. Noting that Plaintiff had not filed any objection to

   the fees award with the district court, that Plaintiff did not contend that it consented to the

   Magistrate Judge entering a judgment on fees, and that the fees order did not notify the parties of

   the timeframe for filing objections, the Federal Circuit found that this Court did not enter a final,

   appealable decision on the issue of attorney fees. Id. Following the Federal Circuit’s dismissal of

   the appeal on the fees order, Defendants withdrew their motion to show cause, see Docket No. 172

   at 2. Plaintiff has now filed two concurrent pleadings, seeking to remedy its procedural error and

   to modify the Magistrate Judge’s award of fees.

                                              DISCUSSION

      A. Plaintiff’s Objections

          Federal Rule of Civil Procedure 72 permits a party to serve and file objections to a

   magistrate judge’s findings within 14 days after being served with a copy of either dispositive or

   nondispositive orders. FED. R. CIV. P. 72(a)-(b). For nondispositive matters, “[a] party may not

   assign as error a defect in the order not timely objected to.” FED. R. CIV. P. 72(a). “The district

   judge in the case must consider timely objections and modify or set aside any part of the order that



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   is clearly erroneous or is contrary to law.” Id. For dispositive matters, a magistrate judge “must

   enter a recommended disposition, including, if appropriate, proposed findings of fact.” FED. R.

   CIV. P. 72(b)(1). A party’s failure to file written objections to a magistrate judge’s proposed

   findings and recommendations within 14 days after being served with a copy of the recommended

   disposition bars that party from de novo review by the district judge. FED. R. CIV. P. 72(b)(2); see

   also Douglass v. United Servs. Auto. Ass’n, 79 F.3d 1415, 1430 (5th Cir. 1996) (en banc).

          The Court takes note of the Federal Circuit’s guidance that it may be precluded from

   finding that My Health waived its right to seek further review of the magistrate judge’s decision

   by the district court because the magistrate judge’s order failed to notify the parties of the

   timeframe for filing objections and the consequences that may follow for not objecting. See

   Docket No. 162 at 2. Out of an abundance of caution, the Court reviews de novo the objected-to

   portions of the Magistrate Judge’s order. However, the Court finds troubling that Plaintiff waited

   an additional six weeks following the Federal Circuit’s June 13, 2018 dismissal order before filing

   its instant objections—well beyond the prescribed 14-day objection period under Rule 72(b).

   Setting aside the questions of the timeliness of the objections, Plaintiff cannot obtain relief from

   the Magistrate Judge’s fees order because Plaintiff’s substantive arguments lack merit. Plaintiff

   submits three objections to the Magistrate Judge’s fees order and the Court considers each in turn.

          Plaintiff first objects that the ʼ985 patent was not so exceptionally weak as to weigh heavily

   in favor of a finding of fees because Plaintiff brought its claims in good faith and the law

   surrounding § 101 invalidity is uncertain. Id. at 3. Plaintiff argues that its good-faith assertion of

   the Asserted Patent stemmed from the Magistrate Judge’s recommendation denying a § 101

   challenge concerning the same patent in a related case, My Health, Inc. v. Lifescan, Inc., No. 2:14-

   CV-683-RWS-RSP, 2015 WL 13469638, at *1 (E.D. Tex. Mar. 19, 2015). Plaintiff essentially



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   contends that a denial of a § 101 challenge to the patent renders other challenges to the patent

   preemptively unsuccessful. However, the instant case differs significantly from LifeScan. In

   LifeScan, the Magistrate Judge recommended that the motion to dismiss under § 101 be denied

   because the defendant’s invalidity argument was implicitly premised on its conclusions about the

   meanings of certain claim terms. Id. at *2. The Magistrate Judge could not assume that the

   defendant’s purported claim definitions were correct without having had a Markman hearing. Id.

   The Magistrate Judge’s basis for denying the motion to dismiss in the LifeScan case cannot be read

   as a blanket endorsement of the patent-eligibility of the asserted claims of ʼ985 patent. “The denial

   of a motion to dismiss is not a merits decision, but only a postponement of the merits decision.”

   See Inventor Holdings, LLC v. Bed Bath & Beyond, Inc., No. 2016-2442, 2017 WL 6062460, at

   *5 (Fed. Cir. Dec. 8, 2017). In this case, the Magistrate Judge noted in his order, and the Court

   agrees, that “the previous denial of the motion to dismiss in the LifeScan case did not give My

   Health a reasonable basis to continue asserting the ’985 patent.” Docket No. 131 at 9.

          The Court further agrees with the Magistrate Judge’s finding that “[b]y the time My Health

   filed its 2016 lawsuits, guidance from the Federal Circuit regarding claims in this category had

   mounted to a level that would give any litigant a reasonably clear view of § 101’s boundaries.” Id.

   at 8. The Court finds unpersuasive Plaintiff’s assertion that the law surrounding § 101 analysis is

   so “far from settled” that a fees award would not be justified in this case. See Docket No. 167 at

   3.

          Additionally, Plaintiff’s complaint that it was improper of the Magistrate Judge to compare

   the Asserted Patent to similar patents to conclude that “[s]uch claims have universally been found

   to be unpatentable under Alice,” is inconsistent with the analysis for finding exceptionality—an

   exceptional case is “simply one that stands out from others with respect to the substantive strength



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   of a party's litigating position (considering both the governing law and the facts of the case) or the

   unreasonable manner in which the case was litigated.” Octane Fitness, LLC v. ICON Health &

   Fitness, Inc., 134 S. Ct. 1749, 1756 (2014). Indeed, a § 285 analysis invites comparison of this

   case (and the Asserted Patent) to other similar cases.1 The Court agrees with the Magistrate

   Judge’s finding that the ʼ985 patent was exceptionally weak in comparison to similar patents and

   the mine-run of cases before this Court and OVERRULES Plaintiff’s objection on this basis.

            Next, Plaintiff objects to the Magistrate Judge’s finding that this suit was brought for the

   purpose of extracting nuisance settlement values. Docket No. 167 at 4. Plaintiff’s contends that

   it is not a volume litigant because it litigated on average 5 to 6 cases per year, the decision to

   enforce the Asserted Patent was based on “scouring publicly available documents,” the offers to

   settle in other litigations varied significantly, and Plaintiff’s willingness to litigate was supported

   by its extensive claim construction briefing. Id.

            As the Magistrate Judge noted, it is the number of actions—31 lawsuits, 11 declaratory

   judgment actions, and 5 IPRs—combined with nuisance-value settlements right before a merits

   determination in each case that support a finding of exceptionality. See Rothschild Connected

   Devices Innovations, LLC v. Guardian Prot. Servs., Inc., 858 F.3d 1383, 1390 (Fed. Cir. 2017)

   (“[T]he undisputed evidence regarding [the appellee’s] vexatious litigation warrants an affirmative

   exceptional case finding here.”); see also SFA Sys., LLC v. Newegg Inc., 793 F.3d 1344, 1350

   (Fed. Cir. 2015) (“[A] pattern of litigation abuses characterized by the repeated filing of patent

   infringement actions for the sole purpose of forcing settlements, with no intention of testing the

   merits of one's claims, is relevant to a district court's exceptional case determination under § 285.”).


   1
     Plaintiff also argues that the Magistrate Judge erred in rejecting Plaintiff’s analysis under Alice, 134 S. Ct. 2347 in
   the § 101 decision. Docket No. 167 at 3. The Court construes this argument as an objection to the § 101 decision.
   This objection is OVERRULED as untimely pursuant to Federal Rule of Civil Procedure 72.


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   The Court agrees with the Magistrate Judge that the totality of the circumstances surrounding the

   nuisance settlements warrants a finding of exceptionality in this case and, therefore,

   OVERRULES Plaintiff’s objection on this basis.

          Lastly, Plaintiff argues that the award of $371,862.95 in fees is unjustified because the

   work performed in this case could easily and more reasonably have been performed by lower-cost

   attorneys. Docket No. 167 at 5. Plaintiff also claims that Defendants’ counsel charged duplicative

   fees for work copied-and-pasted from other IPR petitions. Id.

          These arguments were never raised in Plaintiff’s original briefing for consideration by the

   Magistrate Judge and, therefore, may not now be considered for the first time in the form of an

   objection. “[I]ssues raised for the first time in objections to the report of a magistrate judge are

   not properly before the district judge.” Finley v. Johnson, 243 F.3d 215, 219 n. 3 (5th Cir. 2001).

   Plaintiff did not dispute the amount of the fees award sought by Defendants in its original response

   to Defendants’ motion. See Docket No. 90. Even in its sur-reply, Plaintiff made only a conclusory

   argument that Defendants’ redacted invoices, even with affidavits, did not support their request

   for fees. Docket No. 99. As an example, Plaintiff pointed out that $58,855.50 had been billed by

   Defendants for work relating to an IPR petition, an argument the Magistrate Judge considered and

   rejected in his order. See Docket No. 131 at 12. Indeed, it is clear that Plaintiff is now raising

   arguments relating to the reasonableness of the fees on objection because the Magistrate Judge

   pointed out that Plaintiff failed to “dispute that counsel for the defendants charged reasonable

   hourly rates.” Id. The Magistrate Judge’s observation was not an invitation to raise a new

   argument in an objection.

          Additionally, as to duplication of fees for work relating to the IPR petition, Plaintiff does

   not (at least explicitly) re-urge the argument that the work is unrelated to its infringement claims,



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   but instead argues that the fees are simply duplicative. Id. Plaintiff points to several documents

   from its litigation with two other defendants in its litigation campaign. Id. This argument is not

   persuasive given that, as the Magistrate Judge noted in his order, the invoices show that the same

   time was not counted for each defendant but divided among the defendants. See Docket Nos. 97-

   1–97-4. The Court finds the award of fees in the amount of $371,862.95 to be reasonable and

   supported by the record and, accordingly, OVERRULES Plaintiff’s objection on this basis.

          In view of the totality of the circumstances, the Court is of the opinion that the Magistrate

   Judge’s findings and conclusion that this case is exceptional are correct and, therefore, Plaintiff’s

   objections (Docket No. 167) are OVERRULED in their entirety.

      B. Plaintiff’s Rule 60(b) Motion

          Federal Rule of Civil Procedure 60(b) provides that upon motion and just terms, a court

   may relieve a party from a final judgment, order, or proceeding for several reasons: (1) mistake,

   (2) newly discovered evidence, (3) fraud, (4) misrepresentation or misconduct by an opposing

   party, (4) a void judgment, (5) a judgment based on a prior judgment that has since been reversed

   or vacated, and (6) any other reason that justifies relief. FED. R. CIV. P. 60(b)(1)–(6). A ruling

   pursuant to Rule 60(b) is left to the “sound discretion of the district court.” Steverson v.

   GlobalSantaFe Corp., 508 F.3d 300, 303 (5th Cir. 2007) (quoting Stipelcovich v. Sand Dollar

   Marine, Inc., 805 F.2d 599, 604 (5th Cir. 1986)).

          Relief from the Magistrate Judge’s fees order is not available to Plaintiff under Rule 60(b).

   Plaintiff’s Rule 60(b) motion asks the Court to maintain its exceptionality finding. Docket No.

   168 at 7 (“My Health respectfully requests that the order be altered in the least intrusive ways

   possible to maintain the finding of exceptionality, while denying any awards of fees.”). This

   motion contradicts Plaintiff’s concurrent request in its objections to find that the case was not



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   exceptional, discussed infra. The Court construes such contradiction as an argument in the

   alternative, and one that cannot be reached because of procedural defect by the Plaintiff.

           The relief available under Rule 60(b) arises from a final judgment issued by the district

   court. “A Magistrate Judge’s order issued under 28 U.S.C. § 636(b)(1)(A) or § 636(b)(1)(B) only

   becomes final once the district court makes it final.” Stripling v. Jordan Prod. Co., LLC, 234 F.3d

   863, 868 (5th Cir. 2000); see also Singletary v. B.R.X., Inc., 828 F.2d 1135, 1137 (5th Cir. 1987)

   (“[P]retrial matters referred by a trial judge to a magistrate must be appealed first to the district

   court.”). If the fees order was entered under 28 U.S.C. § 636(b)(1)(A), Plaintiff was required to

   appeal to the district court to obtain final judgment from which it could seek relief. See Fed. R.

   Civ. P. 72(a). If the fees order was dispositive and thus entered under 28 U.S.C. § 636(b)(1)(B),

   Plaintiff would have had to first timely file an objection, then obtain a de novo review from this

   Court and then, upon a final order adopting by the Court, Plaintiff may have sought reconsideration

   under Rule 60(b). Under either prong of Rule 72, no final judgment has been issued to give rise

   to a motion under Rule 60(b). Therefore, Plaintiff’s Rule 60(b) motion is improper and is

   DENIED on this basis.

                                            CONCLUSION

          For the reasons explained above, the Court finds, upon de novo review under Rule 72(b),

   that the findings of fact and conclusions of law contained in the Magistrate Judge’s order on fees

   are well-reasoned and correct.       Accordingly, Plaintiff’s objections (Docket No. 167) are

   OVERRULED and the Court ADOPTS the Magistrate Judge’s § 285 order (Docket No. 131) in

   its entirety. Plaintiff’s motion for relief under Rule 60(b) is DENIED because the Magistrate

   Judge’s § 285 order was not a final disposition adopted by this Court, nor did Plaintiff properly

   appeal the order to this Court. See Donaldson v. Ducote, 373 F.3d 622, 624 (5th Cir. 2004).



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   Plaintiff is thus ORDERED to pay the defendants’ attorneys’ fees, through Defendants’ counsel,

   within thirty (30) days from the date of this order in the amounts specified in the Magistrate

   Judge’s order (Docket No. 131).



         So ORDERED and SIGNED this 29th day of November, 2018.




                                                           ____________________________________
                                                           ROBERT W. SCHROEDER III
                                                           UNITED STATES DISTRICT JUDGE




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